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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

             Plaintiff,                          Case No. 17-20465
  v.                                             Hon. Denise Page Hood

  Mieuttenun Brown,

       Defendant(s).
  _______________________________/

      ORDER DENYING DEFENDANT’S MOTION TO WITHDRAW GUILTY
                        PLEA [ECF NO. 775]


       I.       INTRODUCTION
             Now, before the Court is Defendant’s, Meiuttenun Brown, Motion to

  Withdraw the Plea of Guilty entered on May 29, 2018, See ECF No. 237. [ECF No.

  775]. The motion is fully briefed, and the Court held a hearing on the matter on

  January 10, 2024.1 For the reasons stated herein, Brown’s motion is DENIED.

       II.      BACKGROUND
             Brown is one of several defendants charged in connection with an alleged

  conspiracy to commit health care fraud. On November 3, 2017, federal agents visited

  Brown at her home regarding their investigation into the alleged conspiracy. Several



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    On April 22, 2025, the Court received a letter from Brown seeking resolution of
  this pending motion.
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  weeks later, the agents contacted Brown to schedule a second interview and

  suggested that she retain counsel. On January 3, 2018, Brown retained Richard

  Kraus at Foster Swift Collins & Smith PC (“Foster Swift”) located in Lansing,

  Michigan. Brown claims Foster Swift specializes in representing medical practices

  and “never had an attorney…with sufficient experience in criminal health care fraud

  cases or in the practice of criminal law to handle Dr. Brown’s case.” [ECF No. 775,

  PageID.10470].

        Brown pled guilty to one count of Conspiracy to Commit Health Care Fraud,

  in violation of 18 U.S.C. § 1349, on May 29, 2018. In support of her motion, Brown

  asserts that Kraus “rushed to schedule a client proffer within days of being retained

  and recommended the government’s plea offer to [Brown] without ever requesting

  any pre-indictment discovery [or] conducting a preliminary investigation[.]” Id. at

  PageID.10469-70. Brown further asserts that she relied on the “inept and

  inexperienced” advice of Mr. Kraus in reluctantly entering the plea agreement upon

  Kraus persuading Brown that she had no other choice but to enter the plea. Id. at

  PageID.10467. On January 6, 2022, Kraus filed a motion for leave to withdraw as

  counsel, which was granted. [ECF No. 649, 655]. The Court then appointed attorney

  Henry Scharg to represent Brown. [ECF No. 656].

        Brown brings her motion to withdraw the plea of guilty to one count of

  conspiracy to commit health care fraud in violation of 18 U.S.C. §1349 on the basis
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  that Foster Swift’s representation was deficient and prejudiced her Fifth and Sixth

  Amendment rights to effective assistance of counsel and due process of law. Id. at

  PageID.10461. Furthermore, Brown argues that “but for counsel’s errors, Brown

  would not have been placed in legal jeopardy, pleaded guilty, or waived her

  constitutional right to a trial in this matter.” Id. at PageID.10462.

        During the hearing, Mr. Scharg, Brown’s new counsel, echoed the sentiment

  that Brown’s previous counsel provided ineffective assistance from the time the firm

  was retained on January 2, 2018, until the time counsel withdrew in March of 2022.

  Mr. Scharg urged that but for counsel’s errors, Brown would not have pled guilty or

  waived her constitutional right to a trial in this matter.

        In response, the Government argues that Brown’s motion should be denied

  because “she entered a knowing and voluntary plea in open court” and Brown failed

  to “identify any authority that would permit her to withdraw her plea under the

  circumstances[.]” [ECF No. 78, PageID.10734]. The Government further asserts that

  Brown made her decision “after a review of the evidence against her, including the

  statements of a cooperating witness…with the advice of counsel, and participated in

  a fulsome change of plea hearing.” Id. at PageID.10734-35. The Government

  contends that the four-year gap between Brown’s guilty plea and her motion to

  withdraw the plea creates a strong presumption of denial and Brown has not provided

  any fair or just reasons for requesting the withdrawal as required by Federal Rule of
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  Criminal Procedure 11(d)(2)(B). Id. at PageID.10735. Moreover, Brown

  acknowledged in open court that she was satisfied with her attorney’s advice and

  counsel, had the time she needed to confer with her attorney, and had her questions

  answered. Finally, the Government acknowledges that the Court “complied

  rigorously with the requirements of Rule 11, ensuring that Brown understood the

  consequences of what she was doing and that she was voluntarily entering into the

  plea. Id. at PageID.10738.

        Brown contends that she had an “unsure heart and confused mind” about

  pleading guilty and did not believe that she had committed any conspiracy. [ECF

  No. 781, PageID.10759-60]. Further, Brown maintains that Kraus was ineffective

  because he did not specialize in, or practice criminal law and he failed to perform

  any investigation, research, discovery or review of any of the documents in the case.

  Id. at PageID.10760. Brown contends that Kraus did not exercise due diligence

  before urging her to participate in a proffer meeting with the Government and

  Brown’s doing so was done in haste. Id.

     III.   ANALYSIS

        Rule 11(d) allows a defendant to withdraw a plea of guilty in three narrow

  instances: (1) before the court accepts the plea, for any reason or no reason and (2)

  after the court accepts the plea, but before it imposes sentence if: (A) the court rejects


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  a plea agreement under 11(c)(5); or (B) the defendant can show a fair and just reason

  for requesting the withdrawal. Fed. R. Crim. P. 11. “A defendant does not have an

  absolute right to withdraw a guilty plea and bears the burden of proving that he is

  entitled to withdraw his guilty plea.” United States v. Ellis, 470 F.3d 275, 280 (6th

  Cir. 2006). “When a defendant has entered a knowing and voluntary plea of guilty

  at a hearing at which he acknowledged committing the crime, the occasion for setting

  aside a guilty plea should seldom arise.” Id. quoting United States v. Morrison, 967

  F.2d 264, 268 (8th Cir.1992). The goal of Rule 11 is “to allow a hastily entered plea

  made with unsure heart and confused mind to be undone, not to allow a defendant

  to make a tactical decision to enter a plea, wait several weeks, and then obtain a

  withdrawal if he believes he made a bad choice in pleading guilty.” United States v.

  Alexander, 948 F.2d 1002, 1004 (6th Cir.1991).

        Here, the Court has accepted Brown’s plea. Therefore, Brown must show fair

  and just reasons to withdraw the guilty plea. The Court must consider several factors

  to determine whether the defendant has met its burden of proving that withdrawal is

  for fair and just reasons. Such factors include but are not limited to:

        (1) the amount of time that elapsed between the plea and the motion to
        withdraw it; (2) the presence (or absence) of a valid reason for the
        failure to move for withdrawal earlier in the proceedings; (3) whether
        the defendant has asserted or maintained his innocence; (4) the
        circumstances underlying the entry of the guilty plea; (5) the
        defendant's nature and background; (6) the degree to which the
        defendant has had prior experience with the criminal justice system;
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        and (7) potential prejudice to the government if the motion to withdraw
        is granted.
  United States v. Bashara, 27 F.3d 1174, 1181 (6th Cir.1994). No one factor is

  controlling. United States v. Bazzi, 94 F.3d 1025, 1027 (6th Cir.1996).

     1. The amount of time that elapsed between the plea and the motion to
        withdraw it.
        Brown entered a plea of guilty to one count of conspiracy to commit health

  care fraud in violation of 18 USC §1349 on May 29, 2018. Brown filed the present

  motion to withdraw her guilty plea on October 22, 2022, more than four years later.

  While Brown urges the Court to consider the fact that the filing came quickly after

  the appointment of new counsel, “the first factor is a straightforward consideration

  of the length of time before the motion was filed.” United States v. Fofana, 50 F.

  App'x 725, 728 (6th Cir. 2002). In her reply, Brown cites United States v.

  McTiernan, 546 F.3d 1160 (9th Cir. 2008) to support the argument that Brown’s

  delay is acceptable because she had a different prior attorney. However, the Sixth

  Circuit has ruled that the Ninth Circuit’s approach in McTiernan “conflicts with

  binding precedent in this circuit.” United States v. Bradford, 822 F. App'x 335, 338

  (6th Cir. 2020).

        There is a four-year gap between Brown’s guilty plea and the motion to

  withdraw that plea. Indeed, “[t]he denial of such motions has been upheld where the

  defendant delayed in moving for withdrawal for 67 days, 55 days, and as little as


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  five weeks.” Id. see United States v. Goldberg, 862 F.2d 101, 104 (6th Cir.1988) (55

  days); United States v. Spencer, 836 F.2d 236, 239 (6th Cir.1987) (35 days).

  Therefore, this factor weighs heavily in favor of denial.

     2. The presence or absence of a valid reason for the failure to move for
        withdrawal earlier in the proceedings.
        Brown argues that she did not move earlier because she “had no experience

  or knowledge with the criminal justice system and blindly trusted the advice and

  recommendations of her civil attorneys at FosterSwift, who did not practice criminal

  law at the federal or state level.” [ECF No. 775, PageID.10466]. Brown’s brief in

  support of withdrawal relies heavily on the seven factors discussed in U.S. v. Valdez,

  362 F.3d 903 (6th Cir. 2004) and others which Courts in this Circuit use to guide the

  analysis to determine whether a defendant has provided fair and just reasons for

  withdrawal.

        “In claiming ineffective assistance of counsel in the context of a guilty plea, a

  defendant must show that his or her counsel’s performance was deficient, and that

  the deficient performance caused the defendant to reach a different decision

  regarding his or her guilty plea.” Haynes v. Burke, 115 F.Supp.2d 813, 817-818

  (E.D. Mich. 2000) citing Hill v. Lockhart, 474 U.S. 52, 59, 106 S.Ct. 366, 88 L.Ed.2d

  203 (1985); see also Strickland v. Washington, 466 U.S. 668, 669, 694, 104 S.Ct.

  2052, 80 L.Ed.2d 674 (1984). Therefore, the test for determining whether Brown’s


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  counsel provided ineffective assistance to her is two-fold. The Court must first

  determine whether Mr. Krause’s performance fell below an objective standard of

  reasonableness under present professional norms and that counsel’s unreasonable

  actions or inactions caused Brown to take the plea where she otherwise would have

  insisted on going to trial. U.S. v. Wynn, 663 F.3d 847, 851 (6th Cir. 2011).

        In Haynes v. Burke, 115 F.Supp.2d 813 (E.D. Mich. 2000), this Court granted

  petitioner’s 28 U.S.C. § 2254 motion to withdraw his guilty plea on the basis of

  ineffective assistance of counsel under circumstances vastly different from the

  present matter. In Haynes, petitioner was sixteen and charged with/pled guilty to

  first degree murder per the advice of counsel. While counsel had advised petitioner

  that the trial judge had discretion on whether to sentence petitioner as a juvenile or

  an adult, counsel failed to inform petitioner that the prosecutor had the right to appeal

  any juvenile sentence and attain a sentence up to life without the possibility of parole,

  which in fact occurred. Haynes, 115 F.Supp.2d at 815. The trial court granted

  petitioner’s motion to withdraw the guilty plea noting that “trial counsel advised

  petitioner to plead guilty without giving consideration to the prosecutor’s appeal

  rights” along with the fact that petitioner was sixteen in the ninth grade at the time

  of the proceedings and claimed his innocence to the offense. Id. at 815-16. The trial

  court further found that defense counsel’s performance suggested promises of

  leniency and incorrect statements of law rendering it ineffective and making the plea

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  involuntary and made as a result of defective performance. Id. at 816. The prosecutor

  successfully appealed the juvenile sentence, and petitioner was resentenced as an

  adult to life without parole.

        For similar reasons, this Court found that petitioner in his was entitled to

  withdraw his plea. The Court noted that “[b]ecause of petitioner’s young age,

  petitioner was particularly reliant on his attorney’s advice to plead guilty to the

  offense in this case.” Id. at 819. The Court further found that:

        In light of the fact that petitioner pleaded guilty to an offense which
        normally carries a mandatory nonparolable life sentence, he has shown
        a reasonable probability that had he known that the prosecutor could
        appeal the imposition of a juvenile sentence, thus leaving the trial court
        with only the severest sentencing option available in the State of
        Michigan, he would not have pleaded guilty.

  Id.

        The Sixth Circuit upheld this ruling in Miller v. Straub, 299 F.3d 570 (6th Cir.

  2002), also a § 2254 action, noting that a reduced likelihood of being sentenced as

  an adult was the sole benefit of the guilty plea before the trial court, a benefit which

  Haynes did not know could be deprived by the prosecutor’s right to appeal. Miller

  v. Straub, 299 F.3d 570, 582 (6th Cir. 2002). The Haynes and Miller courts both paid

  close attention to the petitioner’s age, education, and the prejudice which resulted

  from the counselor’s failure to advise of the real possibility that Haynes could be

  resentenced as an adult and face the maximum penalty of life without the possibility

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  of parole, necessitating withdrawal of the guilty plea despite the fact that the motion

  came almost a year later.

        On the other hand, in U.S. v. Wynn, 663 F.3d 847 (6th Cir. 2011), on direct

  appeal, the Sixth Circuit found that the district court did not abuse its discretion when

  it denied defendant’s motion to withdraw his guilty plea. There, defendant claimed

  ineffective assistance due to counsel’s failure to seek certain exculpatory evidence,

  among other reasons. Id. at 850. The court found that Strickland imposes a duty to

  investigate upon counsel, however, defendant could not show that he was prejudiced

  by counsel’s failure to obtain the allegedly exculpatory evidence, or that the

  evidence was relevant or favorable. Id. at 851. Furthermore, several of the Valdez

  factors weighed against withdrawal. Id.

        The present matter is more consistent with the outcome in Wynn. Here,

  Brown, in a motion prior to sentencing, claims ineffective assistance of counsel

  based on her previous counsel’s failure to request pre-indictment discovery which

  could have revealed a weak case against her and Mr. Krause’s lack of experience in

  similar cases. The Court must “indulge a strong presumption that counsel’s conduct

  falls within the wide range of reasonable professional assistance.” Strickland, 466

  U.S. at 689. Brown has not shown that the presence of pre-indictment discovery

  would have changed the outcome in her taking a plea, that the evidence was




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  exculpatory, relevant, or foreseeable, or that his advice to take the plea was

  unreasonable.

        At the hearing on Brown’s motion to withdraw, Mr. Scharg highlighted

  several documents which he purports was all the evidence against Brown at the time

  she took the plea. Mr. Scharg stated that had former counsel been experienced in

  criminal defense and been aware of the little evidence against Brown, he never

  would have advised Brown to take the plea. While this may be so, this does not

  overcome the strong presumption that the failure to request or review discovery was

  not sound legal strategy. Brown argues that she feared she would receive a more

  stringent sentence if she did not take the plea, which is a fear that most defendants

  likely have and is the likely reality of her situation. If Brown did not negotiate a plea

  as early as she did in the case, it is likely that more evidence could have mounted

  against her, and her bargaining power would diminish dramatically. Most of the

  defendants in this matter have been sentenced to lengthy periods of incarceration

  while Brown only faces about three years. [ECF No. 775-3]. While the Court is

  sensitive to the fact that Brown is a mother and wife and going to jail would be

  highly inconvenient, it must be noted that the penalty she faces here is more than

  favorable given the potential outcome of trial.

        Unlike the defendants in Haynes and Miller, Brown has significant education.

  Despite that education, she went with the first law firm she met with to represent her


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  in this matter. At the hearing, Mr. Scharg argued that the FosterSwift website showed

  that the firm had little to no experience in the area of criminal defense. Nevertheless,

  Brown claims that she “blindly trusted” her counsel’s advice. It is difficult to believe

  that an individual with advanced degrees did not have the capacity to consult other

  attorneys in this matter or to question the information presented to her. This is not a

  situation where Brown could not afford to retain an attorney, she simply retained the

  wrong attorney because she, herself, failed to investigate. The evidence shows that

  she carefully considered the plea agreement with her husband and was unwavering

  in the plea hearing before the Court and in her commitment to cooperate with the

  government which continued for the four years prior to Brown’s motion. It is also

  notable that the conversation surrounding the plea began in March of 2018 and was

  not entered until almost three months later. [ECF No. 775, PageID.10468]. Further,

  it is ironic that Brown only submits her own affidavit in support of withdrawal and

  nothing from anyone else, including her husband with whom she discussed her plea,

  showing that she maintained her innocence. Like the defendant in Wynn, there was

  still at least a two-and-a-half-month lapse between Brown being appointed new

  counsel and the motion to withdraw.

        At the plea hearing, Brown stated that she was satisfied with the advice and

  services she had received from her attorney. [ECF No. 358, PageID.3005]. She also

  stated that she understood that she was giving up her right to go to trial and to be


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  presumed innocent until proven guilty beyond a reasonable doubt by the

  Government. Id. at PageID.3005-06. Brown urges the Court to consider the fact that

  substitute counsel “notified the Court without delay” of Brown’s need to withdraw

  the plea upon his preliminary review of the facts and circumstances. [ECF No. 775,

  PageID.10466-67].

        Notably, Brown does not argue that she was under the impression that she

  could not withdraw her plea at any point throughout the four-year gap. She does not

  claim to have been coerced into taking the plea or that her attorney never informed

  her that she could withdraw. Instead, it seems she remained committed to the plea

  by cooperating in the instant case and other unrelated investigations. [ECF No. 780,

  PageID.10748]. Brown stayed committed to the advice she received from her first

  attorney and took no meaningful steps toward withdrawal until the time for

  sentencing drew nearer. Therefore, this factor favors denial.

     3. Whether the defendant has asserted or maintained her innocence.

        Brown argues that she “maintained her innocence prior to her guilty plea and

  that belief has never wavered or changed.” [ECF No 775, PageID.10470-71]. She

  further asserts that “her decision to plead guilty was based upon her counsel’s

  representation that she had no [sic] other options or choices, and that her rejection

  of the plea offer would result in a substantial term of imprisonment away from her


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  family.” Id. at PageID.10471. However, in the e-mail exchange provided by Brown,

  she states that she considered the impacts of taking the plea deal and not taking the

  plea deal and seemingly how that would impact her ability to practice medicine

  again, not be subject to jail time, and continue to be around her family. Id. at

  PageID.10561. While Brown expressed that she did not believe she had committed

  the alleged conspiracy, she did not deny the fact that she had involvement in the

  furtherance thereof.

        Brown’s argument contradicts the statements she made in open court during

  her plea hearing. When asked to explain her involvement in the conspiracy to which

  she plead guilty, Brown stated as follows:

        Mr. Foster: Dr. Brown, were you a licensed physician, the Medical
        Director of Professional Patient Care, and the owner of Advanced
        Professional Patient Care?

        The Defendant: Yes.

        Mr. Foster: Were Professional/Advanced located in the Eastern
        District of Michigan?

        The Defendant: Yes.

        Mr. Foster: And from in or around 2014 to in or around 2017 were
        Professional/Advances at certain times located in a building that was
        owned by an individual named Tasadaq Ali Ahmad?

        The Defendant: Yes.

        The Court: And did Mr. Ahmad select National Laboratories, and
        what’s referred to as Laboratory A in the Rule 11 Plea Agreement, as
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        laboratories for you to refer samples to for the ordering of urine drug
        testing?

        The Defendant: Yes.

        Mr. Foster: Unduly influencing your referral decision?

        The Defendant: Yes.

        Mr. Foster: And did you and others order urine drug testing by
        National Laboratories and Laboratory A that was medically
        unnecessary?

        The Defendant: Yes.

        Mr. Foster: And during the course of that conspiracy involving you,
        Mr. Ahmad, and others, did you cause the submission of false and
        fraudulent claims by National Laboratories to Medicare in the
        approximate amount of $308,553?

        The Defendant: Yes.

        Mr. Foster: In addition did you also refer Medicare beneficiaries to
        home health providers, including U.S. Home Health Care and other
        home health agencies for medically unnecessary home health services?

        The Defendant: Yes.

  [ECF No. 358, PageID.3024-26]. At no point during Brown’s plea hearing did

  she indicate that she did not believe that she was guilty. Brown also did not

  waiver in the factual basis for the charge of conspiracy. See Id. at

  PageID.3026:

        The Court: Okay. And now turn to Page 2 as I asked you. There’s a
        Paragraph C, and it continues on Page 3 and 4 if you would read that to
        yourself. I’m going to ask you a couple questions about it.


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        The Defendant: Okay.

        The Court: Is that an accurate basis for your plea of guilty?

        The Defendant: Yes, ma’am.

        The Court: And so that Paragraph C is correct in all regards?

        The Defendant: Yes, ma’am.

        The “Factual Basis for Guilty Plea” section of Brown’s Rule 11

  Agreement states in part that “Brown knowingly and willfully conspired with

  others to defraud Medicare, in violation of 18 U.S.C. § 1349.” [ECF No. 775-

  3]. It further states that Brown and others “conspired to commit health care

  fraud, whereby claims were submitted for urine drug testing that was not

  medically necessary.” Id. It further states that “Brown would cause the

  submission of false and fraudulent claims by National Laboratories to

  Medicare[.]” Id. Brown agreed that the description was an accurate basis for

  her plea and “correct in all regards[.]” [ECF No. 358, PageID.3026] (emphasis

  added). There is no evidence that Brown did not believe that she was guilty

  of the crime alleged.

        This factor weighs in favor of denial as Brown has not shown that she

  maintained her innocence.

     4. The circumstances underlying the entry of the guilty plea.




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        Brown does not challenge the colloquy of the plea hearing. She simply

  maintains that her attorney was not competent to handle her case and failed to

  provide her with effective assistance. Brown does not assert that she did not have

  adequate time to consider the plea or that it was forced upon her to agree. While the

  Court acknowledges that making a decision which could impact an individual’s

  freedom is not an easy one, it is not clear from the facts presented that the

  circumstances in which Brown plead guilty to the charge should result in

  withdrawal.

     5. Defendant’s nature, background, and prior experience with the criminal
        justice system.
        Brown was raised in a military family. She earned a bachelor’s degree from

  Spelman College, a Master of Public Health degree from the University of South

  Carolina, and a Doctorate Degree in Medicine from Morehouse School of Medicine.

  [ECF No. 780, PageID.10754]. She practiced medicine and owned a professional

  medical business. She has no prior contact with the criminal justice system. Brown

  has not argued that she did not understand the proceedings or the consequences of

  her guilty plea. See United States v. Catchings, 708 F.3d 710, 719 (6th Cir. 2013).

  In fact, it is evident that she pondered different outcomes before making her decision.

  Therefore, this factor weighs against withdrawal.

     6. Potential prejudice to the government if the motion to withdraw is
        granted.

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        While the Court is not required to consider this factor because Brown has not

  provided a fair and just reason for allowing withdrawal, Id.; United States v. Spencer,

  836 F.2d 236, 240 (6th Cir.1987), the Court considers the fact that most if not all of

  the fifteen Defendants have been adjudicated, with the most recent case closing in

  the spring of 2022. As the Government argues, many of the victims are elderly and

  their availability is likely to be impacted by the lapse in time. Furthermore, the

  cooperating witnesses have already been sentenced and have less incentive to

  cooperate. This factor favors denial.

        Brown has not shown that she is entitled to withdraw her plea of guilty.

     IV.    CONCLUSION

        In light of the foregoing,

        IT IS SO ORDERED that Defendant’s Motion to Withdraw Plea of Guilty

  [ECF No. 775] is DENIED.

        IT IS FURTHER ORDERED that sentencing will be held on July 1, 2025, at

  3:30 p.m.;

        IT IS FURTHER ORDERED that sentencing memorandums shall be filed no




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  later than one week before the date set for sentencing.

        SO ORDERED.

                                                      s/Denise Page Hood
                                                      Denise Page Hood
                                                      United States District Judge

  Dated: June 4, 2025




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